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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 20-22448-CIV-ALTONAGA/Goodman

  WINDY LUCIUS,

         Plaintiff,

  v.

  G-STAR RAW RETAIL INC.,

        Defendant.
  __________________________ /

                                               ORDER

        THIS CAUSE came before the Court sua sponte. On July 13, 2020, the Court entered an

 Order [ECF No. 8] instructing Plaintiff, Windy Lucius, to file a motion for entry of clerk’s default

 against Defendant, G-Star Raw Retail Inc., no later than July 17, 2020. Plaintiff has not timely

 filed a motion for entry of clerk’s default or requested an extension of time to do so. In the Order,

 the Court cautioned Plaintiff: “failure to file the motion for entry of clerk’s default within the

 specified time may result in dismissal without prejudice and without further notice.” (Id. 1).

        Accordingly, it is

        ORDERED AND ADJUDGED that the case is DISMISSED without prejudice.

        DONE AND ORDERED in Miami, Florida, this 21st day of July, 2020.




                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

 cc:    counsel of record
